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 Revised 03/06 WDNY                           UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF NEW YORK                                               Aos^eng
                                                                                                                           DIS1 1

                 FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
                                       (Non-Prisoner Context)

 All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

                                                       1. CAPTION OF ACTION                             19 CV 6185
 A.       Full Name of Plaintiff: NOTE; Ifmore than one plaintiffflJes this action and seeks informa pauperis status, each plaintiff
 must submit an informa pauperis application or the only plaintiffto he considered will be the plaintiff who filed an application.

                l^iLTPf hfi.rrcZi\H


                                                                      -vs-


         Full Nailie(s)ofD6fendailt(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names ofallparties must appear in the caption.
 The court may not consider a claim against anyone not identified in this section as a defendant. Add a separate sheet, if necessary.

 1.            RffBWf                                                        4.
2.                                                                           5.
3.                                                                           6.



                            2. STATEMENT OF JURISDICTION. VENUE and NATURE OF SUIT
                                        AU ofthese sections MUST be answered

Identify the basisforfederal Courtjurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.


A. Basis of Jurisdiction in Federal Court:                      Lf Pa>/Jr^ -TO WlC                                            if Tf'nAi
                                   ln/L A                                                     (jfuJ)
State why the Western District ofNew York is the proper venuefor this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties ofNew York State.
                                                                                                    »


B. Reason for Venue in the Western District:                             l^j f,/]M/ /Qif^S/g/hr lA/
                                                          ^                       .

Identify the nature ofthis action,such as that it is a civil rights claim, a personal injury orpersonalproperty (tort)claim, a property rights
claim, or whatever it is.


C. Nature of Suit:                                                                                              Th /{MliA/A//if//A/r
                            Cfimr lTO(ril9A/^ i-                                  ffNT                  2^//^ QL/l
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                                            3. PARTIES TO THIS ACTION

PLAlNTlFF^S INFORMATION NOTE: To list additional plaintiffs, use thisformat on another sheet ofpaper.
Name ofFirst Plaintiff:                              fL.'2. Ai/C
Present Address:                                                             L3


Name of Second Plaintiff:^
Present Address:




DEFENDANT'S INFORMATION NOTE: To list additional defendants, use thisformat on another sheet ofpaper.
Name ofFirst Defendant:         UjALfJ^£ ijJ^ JT^
Official Position of Defendant(if relevant):
Address ofDefendant: 17^//7^4                                                     /pl7a/rAfL
                                                i/,U
Name ofSecond Defendant:

Official Position of Defendant(if relevant):_
Address of Defendant:




Name of Third Defendant:

Official Position ofDefendant(if relevant):_
Address ofDefendant:




                          4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A.      Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
                Yes          No y
If Yes, complete the next section. NOTE:Ifyou have brought more than one lawsuit dealing with the samefacts as this
action, use thisformat to describe the other action(s)on another sheet ofpaper.
1.     Name(s)ofthe parties to this other lawsuit:
       Plaintiff(s):
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         Defendant(s):_


 2.      Court (iffederal court, name the district; if state court, name the county):_


 3.      Docket or Index Number:

4.       Name of Judge to whom case was assigned:_
5.       The approximate date the action was filed:_
6.       What was the disposition of the case?
                 Is it still pending? Yes        No
                           Ifnot, give the approximate date it was resolved.
                 Disposition (check those statements which apply):
                          Dismissed (check the statement which indicates why it was dismissed):
                                   By court sua sponte as frivolous, malicious or for failing to state a claim
                                   upon which relief can be granted;
                                  By court for failure to prosecute, pay filing fee or otherwise respond to a
                                  court order;
                                  By court due to your voluntary withdrawal of claim;
                       Judgment upon motion or after trial entered for
                                plaintiff
                                defendant.




                                                 5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s)for your action. You must include a statement ofthe facts which
you believe support each of your claims. In other words,just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.F.8(a)states that a pleading must contain "a short and plain statement ofthe claim showing that the pleader is
entitled to relief." "The function ofpleadings under the Federal Rules is to give fair notice ofthe claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application ofresjudicata, and identify
the nature ofthe case so it may be assigned the proper form oftrial." Simmons v. Ahmzyn 49 F.Bd 83,86(2d Cir. 1995).

Fed.R.Civ.P. 10(b)states that '[a]ll averments of claim ... shall be made in numbered paragraphs,the contents ofeach of
which shall be limited as far a practicable to a single set of circumstances."


                                                                  /

A. FIRST CLAIM; On {date ofthe incident)
defpdant(g/ve the name and(ifrelevant)the position held ofeach defendant involved in this incident)
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           Cfij/ff/rurm /saa/h i-                                                        i2>Hi WJ'
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vyfifXr)           X^HSsjoi^?iy i\'=\ Ofi v j\ j/i(7tyt\ hv^
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                    y^-3_?^v     T sx        ^YiX
                   V sxf %if0n     /ijjc/y
                    TJKI 'p^<r)0T7y XIS pyn^HX -jt)
  j^Xvxti ^VX (JX pifppV xf2l ^<^/v
 i^%/oX            ny-m-x Jt/^1 ^ j7fy^V
                  XljVV^cfXfS ^1 /7r7-/ T/^/J          XW!YlO
                Jhgi x^>ry^n '^HX ^pxx)77i3 IVJOI X^'VObj^^                             ^
                  jAf3^ yY^apppY^ )ioXX xno xxo^^ y^B
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                                          -} i/f^p? j9fgxsfp              yf n
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did the following to me (bhejly stale what each defendant named above did): __       secn^f t^RAtliAu
            ^      ^                       ' CNA/t^tn/L ^A. i:r^irffcfii£irJ
                                                                        ^                                      ' y^' "
                                       r^/^iutH/L   TP                    A /iisC^/fir IK/                         Tn
           pnr^                 f                                         Jh/           urAst.- // PAi^At/^L^ ^
            AS %djo//rkn//iL ^?ejurfA^ srAreij/ /\j                                               /L-A ur-               ^
         Um^r mn^AJy /"/Pai/JJes h^ectifir                                                      P/?/iU4 yuj^             '
           wm^t r^^MTipr                                   /^.f                  .fr/iT/n/L
                   ^>r/W WJ^                                            /» d/t(/                   s^^/?£r
The federal basis for this claim is:



State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:




B. SECOND CLAIM: On {date ofthe incident)
defendant {give the name and (ifrelevant) position held ofeach defendant involved in this incident)



did the following to me {briefly state what each defendant named above did):




The federal basis for this claim is:



State briefly exactly what you want tlie Court to do for you. Make no legal arguments and cite no cases or statutes:




If you have additional claims, use the above format to set them out on additional sheets of paper.
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                                      6. SUMMARY OF RELIEF SOUGHT

                       Summarize the reliefrequested by you in each statement ofclaim above.


               d                                     //t/c
                 91- /^MLkrf /9K                                                               ^
                                                                UhfSLjy
                /Pt4U S                                *2.^1

                                k.
Do you want a jury trial? Yes M.No
I declare under penalty of perjury that the foregoing is true and correct.
Executed on     3      ^        ^
                       (date)

NOTE: Each plaintiffmust sign this complaint and must also sign all subsequentpapersfiled with the Court.




                                                                     Signature(s) ofPlaintiff(s)
